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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. PX-19-181
                                                *
 RONDELL HENRY,                                 *
                                                *
                Defendant                       *
                                                *
                                             *******

                                             ORDER

       Pursuant to 18 U.S.C. § 4241(e), the Court will hold a competency hearing on May 3, 2022

at 2:00 p.m., to be conducted pursuant to the provisions of 18 U.S.C. § 4247(d). The hearing will be

virtual, as agreed by the parties, with the defendant appearing from Federal Medical Center Butner

(“FMC Butner”).

       It is hereby ORDERED that, pursuant to 18 U.S.C. § 4241(e), unless and until, after the

above-described competency hearing, the Court has issued a written finding by a preponderance of

the evidence that the defendant has recovered to such an extent that he is able to understand the

nature and consequences of the proceedings against him and to assist properly in his defense and the

Court has issued a written order for his immediate discharge from the facility in which he is

hospitalized (1) the defendant shall not be discharged from FMC Butner, and (2) the defendant shall

not be transported from FMC Butner for purposes of appearance at the competency hearing or

otherwise.

       April 8, 2022                                 /S/
       Date                                  Hon. Paula Xinis
                                             United States District Judge
